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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
 UNITED STATES OF AMERICA ex rel.                     FILED UNDER SEAL
 KARI CRUTCHER,

                                   Plaintiff       AMENDED COMPLAINT
                                                         AND
 V.                                              DEMAND FOR A JURY TRIAL

 FIRST GUARANTY MORTGAGE
 CORPORATION, PACIFIC                                   Civil Action No.
 INVESTMENT MANAGEMENT                                  16-CV-03812-SCJ
 COMPANY, LLC, PIIVICO
 INVESTMENTS, LLC, AARON
 SAMPLES, ANDREW PETERS, JILL
 WINTERS and SUZY LINDBLOM,



                                Defendants.


        Relator Kari Crutcher brings this qui tam action in the name of the United

States of America, by and through her undersigned attorneys Thomas & Solomon

LLP„ and alleges as follows:

                                INTRODUCTION

      • -L    This is a civil fraud action by dui tam Kari Crutcher on behalf of the

United States ("the Gt,vatainent"), against First Guaranty Mortgage Corporation,

Pacific Investment Management COMPaDy,, LLC, PIMCO Investments, LLC,

Aaron Samples, Andrew Peters, Till. Wintefs, and Suzy Lindblom (collectively
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"FGMC" or "Defendants") to recover treble damages and civil penalties under the

False Claims Act, 31 U.S.C. §§ 3729-3733, for damages sustained by the United

States Department Of I4ousing and Urban Development ("HUD") in connection

with FGMC's origination of residential mortgage loans underwritten and

approved by FGMC and endorsed for Federal Housing Administration ("FHA")

insurance.

      2.     FGMC, a lender approved by HUD to originate and underwrite

single-family residential mortgages insured by HUD, knowingly approved loans

that violated FHA rules while falsely certifying compliance with those rules.

FGMC's conduct allowed it to profit from these loans, even if the borrowers

defaulted on their mortgages. As the risk was entirely on FHA, when the non-

complaint loans inevitably defaulted, this materialized into millions of dollars in

losses to HUT).

      3.     The FHA program promotes American homeownership through its

"Direct Endorsement Lender" program. Under this program, the FHA insures

loans so long as they satisfy certain requirements.     For these loans, the FHA

guarantees that mortgage holders will suffer no loss if the borrower ultimately

does not repay the loan. This program encourages lenders to extend loans to

creditworthy low- and moderate-income families as well as first-time
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homebuyers.

      4.     Under this program,, lenders known as Direct Endorsement Lenders

are given the responsibility to determine, whether the loans satisfy the

requirements for FHA insurance. Because Direct Endorsement Lenders are

permitted to endorse loans for FHA insurance without prior HUD review, HUD

requires these lenders to conduct due diligence on loans before endorsing them

for FHA insurance, and relies on the truthfulness of their loan-specific

certifications in extending that insurance. As a result, the lender is expected and

obligated to act with good faith, honesty, and fairness in its dealings with HUD.

      5.    FGMC annually certified to HUD that it was following all of HUD's

guidelines, rules, and regulations, when in fact it knew it did not, and had no

intention of providing such services.

      6.    FGMC's false statements in both individual loans as well as in its

initial and annual certifications fraudulently induced (also known as promissory

fraud) HUD to extend insurance coverage on home loans, as well as pay for losses

on covered loans.

      7.    FGMC made these false certifications repeatedly in regards to its

underwriting and quality control processes and each false certification

independently triggers FGMC's



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      8.       FGMC failed to live up to its obligations under the FHA Direct

Endorsement program.          FGMC's management instituted and encouraged

practices that led underwriters to break HUD rules and to approve ineligible loans.

      9.       These policies and practices included FGMC allowing exceptions to

HUD's underwriting requirements, manipulating key data, waiving conditions

and documentation requirements, pressuring underwriters to approve loans

ineligible for FHA insurance, and encouraging underwriters to disregard risks that

were evident in the loan files.

      10.      FGMC established a culture that valued getting a loan approved and

endorsed for FHA insurance over complying with HUD's rules. FGMC's aim was

to get loans insured by the United States and sold for a profit—even when FGMC

could not truthfully certify to FHA that the loan qualified for FHA insurance.

      11.      FGMC encouraged its underwriting staff to approve loans, no matter

what the borrower's circumstances or documentation. FGMC employees often

joked that borrowers came to FGMC last because they had been declined

everywhere else, but would be approved by FGMC because "we approve

everything."

      12.   In order to "fix" these initially ineligible loans, FGMC taught and

counseled employees on several mechanisms designed to falsely make loans




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eligible for FHA insurance.       This included tactics such as intentionally

miscalculating or misrepresenting borrowers income or debt obligations, ignoring

clear warning signs of fraud, and hiding adverse documentation.

      13.    As one of its most common fraudulent practices, FGMC abused the

FHA's TOTAL Mortgage Scoreboard, a credit-rating algorithm maintained by the

FHA that worked in conjunction with FGMC's internal automated underwriting

system ("AUS"). TOTAL rates loans as either "accept/approve" or "refer" based

on data points that FGMC enters into the AUS, including the borrowers' income,

debt, and assets information. Loans that receive an "accept/approve" rating are

subject to significantly fewer documentation requirements and less scrutiny than

loans that receive a "refer" rating. To get around HUD rules, FGMC would

initially run a loan through its AUS and if it did not receive an "accept/approve"

rating, FGMC would then run the loan repeatedly through AUS/TOTAL in order

to find income, debt, and asset information that would allow the loan to gain an

"accept/approve" rating. Using the numbers obtained through this process,

FGMC would have its underwriters work backwards from the known

 accept/approve" data and would manipulate the borrowers' income, debts, and

asset information in order to match up with the pre-determined acceptance

numbers.



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       14.   Although this "working backwards" technique is a serious violation

of HUD's underwriting rules, FGMC would frequently run borrower scenarios in

AUS/ TOTAL multiple times in order to generate income and debt information

that could then be manipulated.

      15.    Employees that did not follow FGMC's methods to skirt the FHA

rules and regulations were disciplined and/ or terminated. For example, if an

underwriter did not subsequently follow the instructions of management to ignore

or "waive" an underwriting condition, that employee could be subject to discipline

including termination.

      16.    FGMC also prioritized the mass approval of FHA loans by developing

several strategies designed to generate as many approvals as possible.            For

instance, although HUD requires an FHA lender to maintain a proper quality

control system, FGMC failed to implement such a system and instead was only

concerned with churning out loans. Therefore, not only were there substantial

errors in FGMC's underwriting process to begin with, but FGMC made no effort

to use the required quality control process to identify and correct such deficiencies.

      17.    Despite repeatedly underwriting loans that were ineligible for FHA

insurance as they did not comply with HUD's rules and regulations, FGMC

further violated HUD's self-reporting requirements by failing to report loans that




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it knew were affected by fraud and other serious violations. This self-reporting

requirement is meant to enable HUD to identify issues with FHA loans, and to

request reimbursement from lenders as appropriate. Instead of making such self-

disclosures, FGMC aimed to keep its deficient loans secretive.

      18.    FGMC's conduct has caused improperly underwritten loans to be

endorsed for FHA insurance where the loans did not satisfy HUD's requirements

and where the borrowers ultimately did not repay the loans.

      19.    Ineligible loans endorsed by FGMC have resulted in millions of

dollars in existing losses to HUD and many additional loans are currently in

default and will likely result in significant additional losses to the agency.

      20.    HUD's underwriting requirements are designed not only to protect it

and the taxpayers from improperly underwritten and unduly risky loans, but also

to ensure that creditworthy borrowers are able to handle the monthly payments

and to become lasting homeowners. FGMC's underwriting of ineligible loans and

false certifications of compliance with applicable requirements undermined these

objectives, harming homeowners and the housing market.

                          JURISDICTION AND VENUE

      21.    This action arises under the False Claims Act, 31 U.S.C. §§ 3729-3733.

This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§




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1331 and 1345 and 31 U.S.C. §§ 3730 and 3732.

       22.    This Court has personal jurisdiction over FGMC because FGMC

transacts business within the Northern District of Georgia.

       23.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and

(c), 28 U.S.C.§ 1395, and 31 U.S.C. § 3732(a), because FGMC transacts business

within this district.

       24.    This suit is not based on prior public disclosure of allegations or

transactions in a criminal, civil or administrative hearing, lawsuit or investigation;

in a Government Accountability Office or Auditor General's report, hearing, audit,

investigation; in the news media; or otherwise as the term "publicly disclosed" is

defined in 31 U.S.C. § 3730(e) (4), but rather upon information provided by Relator

Crutcher.

       25.    In the alternative, to the extent there has been a public disclosure

unknown to Relator, Relator is an original source of these allegations, as defined

by the FCA. Relator has direct and independent knowledge of FGMC's fraudulent

activities.   Relator has also voluntarily provided this information to the

Government prior to filing this action as required under 31 U.S.C. § 3730(e) (4)(B).

       26.    Relator shall serve on the United States a copy of this Complaint and

a written disclosure statement setting forth and enclosing all material evidence



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and information she possesses, pursuant to the requirements of 31 U.S.C. §

3730(b) (2).

                                   THE PARTIES

       27.     Defendant FGMC is a Virginia corporation.

       28.     FGMC has a principal place of business located at 1900 Gallows Road,

Suite 800, Tyson.s Corner, Virginia 22182.

      29.      FGMC identifies its home office city to HUD as Tysons Corner,

Virginia and is registered with HUD under Lender ID 75168.

      30.      Defendant Pacific Investment Management Company, LLC

("HMCO") is a limited liability company organized under the laws of Delaware

with its principal place of business in Newport Beach, California.

      31.      Defendant PIMCO Investments LLC is a Delaware corporation that is

headquartered in New York, New York. PIMCO Investments LLC is a wholly-

owned subsidiary of PIMCO and an indirect subsidiary of Allianz SE.

      32.      Defendant Andew Peters was the Chief Executive Officer of FGMC

from June 2011 to March 2018.

      33.      Upon information and belief, Mr. Peters, in concert with others,

developed and managed FGMC's policies and practices regarding underwriting

and origination of government loans.



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      34.   Defendant Aaron Samples has been the Chief Executive Officer of

FGMC from 2018 to the present.

      35.   Upon information and belief, Mr. Samples, in concert with others,

developed and managed FGMC's policies and practices regarding underwriting

and origination of government loans.

      36.   Defendant Suzy Lindblom is the Chief Operating Officer of FGMC.

      37.   Upon information and belief, Ms. Lindblom, in concert with others,

developed and managed FGMC's policies and practices regarding underwriting

and origination of government loans.

      38.   Defendant Jill Winters is the Vice President, National Underwriting

at FGMC.

      39.   Upon information and belief, Ms. Winters, in concert with others,

developed and manages FGMC's policies and practices regarding underwriting

and origination of government loans.

      40.   Relator is a resident of Fenton, Missouri and worked remotely for

FGMC as a Wholesale Underwriter from approximately September 2014 to

November 2014.

      41.   Through her past work experiences and education, Relator has

extensive knowledge of the rules and regulations applicable to FHA loans.



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                             FACTUAL BACKGROUND

Civil Statutes to Combat Mortgage Fraud

          42.   The False Claims Act provides that a person is liable to the United

States Government for each instance in which the person knowingly presents, or

causes to be presented, a false or fraudulent claim for payment or approval. 31

U.S.C. § 3729(a) (1) (2006); 31 U.S.C. § 3729(a)(1) (A) (2010).

       43.      The False Claims Act also makes liable any person who "knowingly

makes, uses, or causes to be made or used, a false record or statement material to

a false or fraudulent claim." 31 U.S.C. § 3729(a)(1)(B) (2010). The prior version of

the false statements provision made liable any person who "knowingly makes,

uses, or causes to be made or used, a false record or statement to get a false or

fraudulent claim paid or approved by the Government." 31 U.S.C. §3729(a)(2)

(2006).

      44.       The Act defines "knowingly" to mean that a person "(i) has actual

knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity

of the information; or (iii) acts in reckless disregard of the truth or falsity of the

information." 31 U.S.C. § 3729(b) (2006); 31 U.S.C. § 3729(b) (I) (A) (2010). The False

Claims Act provides that no proof of specific intent to defraud is required. 31

U.S.C. § 3729(b) (2006); 31 U.S.C. § 3729(b)(1)(B) (2010).



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       45.    Before May 2009, the False Claims Act defined the term "claim" to

 include "any request or demand, whether under a contract or otherwise, for money

or property which is made to a contractor, grantee, or other recipient if the United

States Government provides any portion of the money or property which is

requested or demanded, or if the Government will reimburse such contractor,

grantee, or other recipient for any portion of the money or property which is

requested or demanded." 31 U.S.C. § 3729(c)(2006).

       46.   Effective May 20, 2009, the False Claims Act now defines the term

"claim" to mean, in relevant part: "any request or demand, whether under a

contract or otherwise, for money or property and whether or not the United States

has title to the money or property, that: (i) is presented to an officer, employee, or

agent of the United States; or (ii) is made to a contractor, grantee, or other recipient,

if the money or property is to be spent or used on the Government's behalf or to

advance a Government program or interest, and if the United States Government

(I) provides or has provided any portion of the money or property requested or

demanded; or (II) will reimburse such contractor, grantee, or other recipient for

any portion of the money or property which is requested or demanded." 31 U.S.C.

§ 3729(b)(2)(A) (2010).

      47.    The Supreme Court has made clear that a request for payment made



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under a federal loan guarantee that was obtained in violation of a statute,

regulation, or program requirement, by the use of a false statement, or by means

of other fraudulent conduct qualifies as a "claim" under the False Claims Act. See

United States v. Neifert-White Co., 390 U.S. 228, 232 (1968).

      48.     Any person who violates the False Claims Act is liable to the United

States Government for a civil penalty of not less than $5,000 and not more than

$10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990

(28 U.S.C. 2461 note; Public Law 104-410), plus 3 times the amount of damages

which the Government sustains because of the act of that person. 31 U.S.C. §

3729(a)(G).

HUD's FHA Mortgage Insurance Program

      49.     HUD is a cabinet-level agency of the United States. Its mission is to

create strong, sustainable, inclusive communities and quality affordable homes for

all. HUD works to strengthen the housing market to bolster the economy and

protect consumers, meet the need for quality affordable rental homes, utilize

housing as a platform for improving quality of life, and build inclusive and

sustainable communities free from discrimination.

      50.     FHA is a part of HUD and is one of the largest mortgage insurers in

the world. Pursuant to the National Housing Act of 1934, FHA offers several



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mortgage insurance programs that have insured more than 40 million home loans

since FHA's inception. Through some of these mortgage insurance programs, FHA

provides insurance against losses on mortgage loans to single family homebuyers

originated and held by approved lenders, or mortgagees.

       51.   If a homeowner defaults on an FHA-insured mortgage, the holder of

the mortgage may submit a claim to HUD. HUD will then pay the mortgage holder

the outstanding balance on the loan and other costs associated with the default.

The mortgage holder therefore suffers no loss when a borrower is unable to repay

an FHA-insured mortgage. This no-loss guarantee encourages lenders to make

loans to creditworthy applicants who would otherwise have difficulty qualifying

for conventionally available financing on favorable terms, including the ability to

put little money down to make the purchase. FHA mortgage insurance programs

therefore help many creditworthy low- and moderate-income families as well as

first-time homebuyers become homeowners.

      52.    A lender must apply to be a Direct Endorsement Lender and must be

approved by HUD to underwrite FHA-insured mortgage loans on HUD's behalf.

This is an important responsibility because HUD "does not review applications for

mortgage insurance before the mortgage is executed." 24 C.F.R. § 203.5(a). Instead,

the Direct Endorsement Lender underwrites mortgage loans on HUD's behalf and




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determines whether a borrower presents an acceptable credit risk for HUT). In

underwriting the mortgage loan, the lender must determine whether the borrower

and the mortgage loan meet HUD's requirements for FHA insurance and whether

the "proposed mortgage is eligible for insurance under the applicable program

regulations." Id. The Direct Endorsement Lender must decide whether or not to

approve the borrower for an FHA-insured mortgage loan.

      53.    After the Direct Endorsement Lender approves a borrower for an

FHA-insured mortgage loan, the lender may submit the mortgage loan to HUD to

"endorse" the mortgage loan for FHA insurance, meaning that the mortgage loan

is fully insured by the FHA insurance fund in the event that the borrower cannot

repay the loan. The Direct Endorsement Lender must certify that the loan meets

all of HUD's requirements and HUD relies on this certification to endorse the loan

for FHA insurance.

      54.   Certain Direct Endorsement Lenders apply to, and participate in, the

Lender Insurance program in which the mortgagees themselves endorse the

mortgage for FHA insurance and retain all documentation supporting the

mortgage. 24 C.F.R. § 203.6. The lender retains the documents necessary to

approve the loan (the FHA "case binder") and remits the documents to HUD only

at the Agency's request.




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       55.   A Direct Endorsement Lender is expected and obligated to act with

the utmost good faith, honesty, and fairness in its dealings with HUD. "Under the

. . . civil case law the mortgagee, knowing that the federal insurer is 'relying on its

professional judgment in a business relationship' has an affirmative duty 'to use

due care in providing information and advice' to the federal mortgage guarantor."

As a result, in addition to the regulatory duties addressed below, the Direct

Endorsement Lender owes both a fiduciary duty and a duty of reasonable care to

HUD.

HUD's Direct Endorsement Program

       56.   The success of the Direct Endorsement Program depends upon

proper underwriting of loan files. Participating lenders have to determine the

eligibility of borrowers and loans for FHA insurance, and ensure the integrity of

the data relied upon to make such determinations.

      57.    Under the Direct Endorsement Program, HUT) relies on the expertise

and knowledge of the lenders.

      58.    HUD also relies on the truthfulness of the certification the lender

completes on each loan certifying that the loan is eligible for FHA insurance. As

HUD has explained, these "certifications are important as HUD will rely upon

them for purposes of endorsing the mortgage loan, thereby eliminating the




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necessity for a detailed HUD review of the loan prior to endorsement." Final Rule,

Mutual Insurance Programs Under the National Housing Act; Direct Endorsement

Processing, 48 Fed. Reg. 11928, 11932 (March 22, 1983).

       59.     To obtain and maintain its status as a Direct Endorsement Lender, a

lender must have qualified underwriters on staff.

       60.     To qualify as a Direct Endorsement underwriter or "DE underwriter,"

an underwriter must satisfy several requirements. The DE underwriter "must

have a minimum of three years full-time recent experience (or equivalent

experience) reviewing both credit applications and property appraisals." HUD

Handbook 4000.4, REV-1, CHG-2, ch. 2-4.A.3; see also HUD Handbook 4155.2 ch.

2.A.4.a. The underwriter must also be a "reliable and responsible professional

skilled in mortgage evaluation" and "must be able to demonstrate his or her

knowledge and experience regarding the principles of mortgage underwriting."

HUD Handbook 4000.4, REV-1, CHG-2, ch. 2-4.A.1; see also I-IUD Handbook 4155.2

ch. 2.A.4.a.

      61.      A Direct Endorsement Lender is responsible for all aspects of the

mortgage application, the property analysis, and the underwriting of the

mortgage. That responsibility includes performing due diligence and ensuring

accuracy.




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The FHA's Due Diligence Requirements

       62.    Proper due diligence is a critical component of the Direct

Endorsement Program. It is required by federal regulation and HUD Handbooks.

It is also required by virtue of the fiduciary duty and duty of reasonable care that

the Direct Endorsement Lenders owe to HUD. See 48 Fed. Reg. at 11932 ("The duty

of due diligence owed [HUD] by approved mortgagees is based not only on these

regulatory requirements, but also on civil case law."). "The entire scheme of FHA

mortgage guaranties presupposes an honest mortgagee performing the initial

credit investigation with due diligence and making the initial judgment to lend in

good faith after due consideration of the facts found."

      63.    A lender's due diligence should (1) "determine a borrower's ability

and willingness to repay a mortgage debt, thus limiting the probability of default

and collection difficulties;" and (2) "examine a property offered as security for the

loan to determine if it provides sufficient collateral." HUD Handbook 4155.1, REV-

5, ch. 2-1. Proper due diligence thus requires an evaluation of, among other things,

a borrower's credit history, capacity to pay, cash to close, and collateral. Id.

      64.    In all cases, a Direct Endorsement Lender owes HUD the duty, as

prescribed by federal regulation, to "exercise the same level of care which it would

exercise in obtaining and verifying information for a loan in which the mortgagee



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would be entirely dependent on the property as security to protect its investment."

24 C.F.R § 203.5(c).

       65.      HUD has established specific rules for due diligence predicated on

sound underwriting principles. In particular, HUD requires Direct Endorsement

Lenders to be familiar and to fully comply with governing HUD Handbooks and

Mortgagee Letters, which provide detailed instructions and requirements for

Direct Endorsement Lenders. These requirements set forth "the minimum

standard of due diligence in underwriting mortgages" with which Direct

Endorsement Lenders must comply. Id.

      66.       HUD considers the Direct Endorsement underwriter to be "the focal

point of the Direct Endorsement program." HUD Handbook 4000.4, REV-1, CHG-

2, ch. 2-4.C. The Direct Endorsement underwriter must assume the following

responsibilities:

            •   compliance with HUD instructions, the coordination of all phases of
                underwriting, and the quality of decisions made under the program;

          •     the review of appraisal reports, compliance inspections and credit
                analyses performed by fee and staff personnel to ensure reasonable
                conclusions, sound reports and compliance with HUD requirements;

          •     the decisions relating to the acceptability of the appraisal, the
                inspections, the buyerns capacity to repay the mortgage and the
                overall acceptability of the mortgage loan for HUD insurance;




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                •   the monitoring and evaluation of the performance of fee and staff
                    personnel used for the Direct Endorsement program;

                •   and awareness of the warning signs that may indicate irregularities,
            •       and an ability to detect fraud, as well as the responsibility that
                    underwriting decisions are performed with due diligence in a
                    prudent manner.
Id.

      67.           The   underwriter    must    "evaluate   the   mortgagor's    credit

characteristics, adequacy and stability of income to meet the periodic payments

under the mortgage and all other obligations, and the adequacy of the mortgagor's

available assets to close the transaction, and render an underwriting decision in

accordance with applicable regulations, policies and procedures." 24 C.F.R. §

203.5(d).

      68.           When ensuring that a borrower is creditworthy, a Direct

Endorsement Lender must comply with governing HUD requirements, such as

those set forth in HUD Handbook 4155.1 (Mortgage Credit Analysis for Mortgage

Insurance on One- to Four-Unit Mortgage Loans). The rules set forth in HUD

Handbook 4155.1 exist to ensure that a Direct Endorsement Lender sufficiently

evaluates whether a borrower has the ability and willingness to repay the

mortgage debt. HUD has informed Direct Endorsement Lenders that past credit

performance serves as an essential guide in determining a borrower's attitude




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 toward credit obligations and in predicting a borrower's future actions.

       69.   Direct Endorsement Lenders can underwrite an FHA-insured loan in

one of two ways. First, a DE underwriter can "manually underwrite" the loan, by

making the credit decision whether to approve the borrower, in accordance with

HUD underwriting rules. Second, the Direct Endorsement Lender can use a HUD-

approved Automated Underwriting System (AUS), a software system that makes

the credit recommendation whether to approve the borrower.

       70.   To "manually underwrite" an FHA-insured loan, there are numerous

steps the DE underwriter must take. At a minimum, the underwriter must: (1)

obtain and review the borrower's credit history; (2) obtain adequate explanations

for major derogatory credit, including collections, judgments, and other recent

credit problems; (3) analyze the borrower's debt obligations; (4) reject

documentation transmitted by unknown or interested parties; (5) inspect

documents for proof of authenticity; (6) verify the borrower's employment history;

(7) establish the borrower's income stability and make income projections; (8)

ensure that the borrower has invested a minimum required amount of his or her

own funds in the transaction; (9) document the source of funds invested in the

transaction, including any gift funds; (10) calculate debt and income ratios and

compare those ratios to the fixed ratios set by HUD rules; and (11) consider and



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document any compensating factors permitting deviations from those fixed ratios.

See HUD Handbook 4155.1.

Underwriting of Loans with the FHA's TOTAL System

       71.    Beginning in July 2008, HUD required Direct Endorsement Lenders

to electronically process eligible loan requests through an AUS. The AUS is a

software program that connects to a proprietary HUD algorithm known as

Technology Open to Approved Lenders, or "TOTAL." Using data the lender

inputs, HUD's "TOTAL" algorithm makes a credit determination and either: (i)

provides an "Accept/Approve" decision, approving the loan subject to certain

conditions; or (ii) provides a "Refer" decision, referring the loan back to the lender

for manual underwriting. When TOTAL approves the loan, the approval is

conditioned on the lender completing certain additional underwriting steps, called

 conditions." Many of these conditions relate to ensuring the data the lender

entered is true, complete, and accurate.

      72.     Numerous requirements promulgated by HUD explain how lenders

must calculate each data point and what documentation they need to support each

data point.

      73.     For any loan approved through the use of an AUS, HUD requires the

lender to certify to the integrity of the data it entered, which HUD defines as data




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that is true, complete, and accurate. FHA TOTAL Mortgage Scorecard User Guide

(December, 2004 Edition), ch. 2. If the lender later receives or learns of information

that materially differs from the information previously entered by the lender, the

lender must re-submit a proposed loan to TOTAL through the AUS.

       74. The data entered into TOTAL is material to the endorsement of the

loan because TOTAL is an algorithm that evaluates the overall creditworthiness of

a mortgage applicant based on the data supplied by the lender. Therefore, a loan

receiving a TOTAL "Accept/Approve" decision is only eligible for FHA's

insurance endorsement if "the data entered into the AUS are true, complete,

properly documented, and accurate." See FHA TOTAL Mortgage Scorecard User

Guide (December, 2004 Edition), ch. 2. It is the Direct Endorsement Lender's

responsibility to ensure the integrity of the data relied upon by TOTAL. See

Mortgagee Letter 2004-1.

      75. Because TOTAL cannot analyze data that is not available to it, certain

loans are not eligible for an AUS approval and must be manually underwritten.

"A manual downgrade becomes necessary if additional information, not

considered in the AUS decision, affects the overall insurability or eligibility of a

mortgage otherwise rated as an accept or approve." FHA TOTAL Mortgage

Scorecard User Guide (December, 2004 Edition), ch. 2. While a lender is not



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required to have a Direct Endorsement underwriter review the credit portion of

an AUS approved loan, a lender must have qualified staff review AUS approvals

to ensure a loan that receives an "Accept/Approve" decision is in fact eligible for

an AUS approval. See id.

      76.    To ensure the integrity of TOTAL's decision, as well as the integrity

of the data TOTAL relies upon, lenders are prohibited from "willfully

manipulating ... application variables [in] TOTAL mortgage scorecard to obtain an

accept/approve risk classification." See Mortgagee Letter 2005-15.

      77.    If TOTAL does not approve a loan with an "Accept/Approve"

decision, it returns a "Refer" decision, meaning the loan is referred back to the

lender for manual underwriting. Lenders must then have a DE underwriter

perform a manual underwrite and determine if the loan is approvable under

FHA's manual underwriting requirements. See 24 C.F.R § 203.255(b)(5)(i)(B).

FHA's Requirements of a Quality Control Program and Mandatory Reporting

      78.   A Direct Endorsement Lender is required to maintain a quality

control program to ensure the quality of its FHA-insured mortgages. HUD

requires that "[t]he Quality Control function must be independent of the [lender's]

origination and servicing functions." HUD Handbook 4060.1, REV-2, ch. 7-3.B; see

also HUD Handbook 4700.2, REV-1, ch. 6-1.A.



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         79.   The quality control program must be designed to meet the goals of

assuring compliance with FHA's requirements, protecting FHA from unacceptable

risk, guarding against errors, omissions and fraud, and assuring swift and

appropriate corrective action. HUD Handbook 4060.1, REV-2, ch. 7-2. The quality

control program also must review a sample of all closed loan files to ensure they

were underwritten in accordance with HUD guidelines. HUD Handbook 4060.1,

REV-2, ch. 7-6.C; see also HUD Handbook 4700.2, REV-1, ch. 6-1.D.

         80.   When a lender reviews a loan file for quality control, the lender must,

among other things, review and confirm specific pieces of information. For

instance,"[d]ocuments contained in the loan file should be checked for sufficiency

and subjected to written reverification. Examples of items that must be reverified

include, but are not limited to, the mortgagod]s employment or other income,

deposits, gift letters, alternate credit sources, and other sources of funds." HUD

Handbook 4060.1, REV-2, ch. 7-6.E.2.; see also HUD Handbook 4700.2 REV-1, ch. 6-

3.A.2.

         81.   If the lender finds discrepancies, it must explore them to ensure that

there are no deficiencies. "Any discrepancies must be explored to ensure that the

original documents . . . were completed before being signed, were as represented,

were not handled by interested third parties and that all corrections were proper



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and initialed." HUD Handbook 4060.1, REV-2, ch. 7-6.E.2.

      82.       At the end of the quality control review, the lender is expected to

assess the significance of any deficiencies. The HUD Handbook recommends a

"system of evaluating each Quality Control sample on the basis of the severity of

the violations found during the review. The system should enable a mortgagee to

compare one monthils sample to previous samples so the mortgagee may conduct

trend analysis." HUD Handbook 4060.1, REV-2, ch. 7-4.

      83.       HUD recommends four types of ratings. The ratings provided for this

purpose are:

            •   "Low Risk", i.e., no problems or minor problems were identified with
                loan servicing or origination;
            •   "Acceptable Risk," i.e., the issues identified were not material to the
                "creditworthiness, collateral security or insurability of the loan";
            •   "Moderate Risk," i.e., a failure to address significant unresolved
                questions or missing documentation has created moderate risk for the
                mortgagee and the FHA; and
            •    "Material Risk," i.e. the issues identified were "material violations of
                FHA or mortgagee requirements and represent an unacceptable level
                of risk."

      84.       Examples of "material risk" are violations that include a "significant

miscalculation of the insurable mortgage amount or the applicantHs capacity to

repay, failure to underwrite an assumption or protect abandoned property from

damage, or fraud." HUD Handbook 4060.1, REV-2, ch. 7-4.D.




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       85.   These findings trigger mandatory reporting obligations. Mortgagees

"must report [Material Risk] loans, in writing," to HUD. Id.

       86.   A lender is also required to report to HUD "[flindings of fraud or

other serious violations" that are discovered "during the normal course of business

and by quality control staff during review/audits of FHA loans." HUD Handbook

4060.1, REV-2., ch. 7-3.J. The lender must report these findings, along with the

supporting documentation, within 60 days of when the lender first discovers

them. Id.; HUD Handbook 4060.1, REV-2, ch. 2-23 ("Mortgagees axe required to

report to HUD any fraud, illegal acts, irregularities or unethical practices."). Since

November 2005, Direct Endorsement Lenders such as FGMC have been required

to make such reports through HUD's online Neighborhood Watch Early Warning

System. See Mortgagee Letter 2005-26.

      87.    Internal reporting of findings is also required. Quality control review

findings must "be reported to the mortgageerls senior management within one

month of completion of the initial report" HUD Handbook 4060.1, REV-2, ch. 7-3.1.

      88.    In addition to appropriate reporting, lenders must act to address the

problems they identify.      "Management must take prompt action to deal

appropriately with any material findings. The final report or an addendum must

identify actions being taken, the timetable for their completion, and arty planned



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follow-up activities." Id.; see also HUD Handbook 4700.2, REV4, ch. 6-1.F.

Certifications and Endorsements for FHA Insurance

       89.   HUI) requires Direct Endorsement Lenders to certify their

compliance with the foregoing due diligence, quality control, and reporting

requirements.

       90.   First, when a lender applies to participate in the Direct Endorsement

Lender program and to endorse loans for FHA insurance on HUD's behalf, the

lender must certify that it will fully comply with all HUD guidelines, regulations,

and requirements:

             I certify that, upon the submission of this application, and with
             its submission of each loan for insurance or request for
             insurance benefits, the applicant has and will comply with the
             requirements of the Secretary of Housing and Urban
             Development, which include, but are not limited to, the
             National Housing Act (12 U.S.C. § 1702 et seq.) and HUD's
             regulations, FHA handbooks, mortgagee letters, and Title I
             letters and policies with regard to using and maintaining its
             FHA lender approval.

      91.    If the lender is approved, the lender must re-certify, every year, that

it is complying with the program's qualification requirements, including due

diligence in underwriting and the implementation of a mandatory quality control

plan. As of 2010, lenders are required to certify:

             I certify that I know, or am in the position to know, whether the



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              operations of above-named lender conform to HUD-FHA
              regulations, handbooks, Mortgagee Letters, Title I Letters, and
              policies; and that I am authorized to execute this report on
              behalf of the lender. I certify that the lender complied with and
              agrees to continue to comply with HUD-FHA regulations,
              handbooks, Mortgagee Letters, Title I Letters, policies, and
              terms of any agreements entered into with [HUD]. I certify that
              to the best of my knowledge, the above-named lender conforms
             to all HUD-FHA regulations necessary to maintain its HUD-
             FHA approval, and that the above-named lender is fully
             responsible for all actions of its principals, owners, officers,
             directors, managers, supervisors, loan processors, loan
             underwriters, loan originators, and all other employees
             conducting FHA business for the above-named lender. . . Each
             of my certifications is true and accurate to the best of my
             knowledge and belief. I understand that if I knowingly have
             made any false, fictitious, or fraudulent statement(s),
             representation, or certification on this form, I may be subject to
             administrative, civil and/or criminal penalties; including
             debarment, fines, and imprisonment under applicable federal
             law.

      92.    Unless the lender submits a truthful initial certification and annual

certifications, the lender is not entitled to obtain or maintain its status as a Direct

Endorsement Lender or to endorse loans for FHA insurance.

      93.    In addition, for each individual mortgage loan approved for FHA

insurance, the lender must make a "loan-level" certification — i.e., a certification

specific to an individual loan—that the individual mortgage complies with HUD

rules and is "eligible for HUD mortgage insurance under the Direct Endorsement

program." Form HUD-92900-A.



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      94.    The "loan-level" certification differs depending on whether the lender

used an AUS or manual underwriting. For each loan that was underwritten with

an AUS, the lender must certify to "the integrity of the data supplied by the lender

used to determine the quality of the loan [and] that a Direct Endorsement

Underwriter reviewed the appraisal (if applicable)." Id. For each loan that required

manual underwriting, the lender must certify that the Direct Endorsement

Underwriter "personally reviewed the appraisal report (if applicable), credit

application, and all associated documents and ha[s] used due diligence in

underwriting th[e] mortgage." Id.

      95.   For every loan that was approved by an FHA lender, whether through

manual underwriting or the use of an AUS, an employee is required to certify:

            I, the undersigned, as authorized representative of [the lender]
            at this time of closing of this mortgage loan, certify that I have
            personally reviewed the mortgage loan documents, closing
            statements, application for insurance endorsement, and all
            accompanying documents. I hereby make all certifications
            required for this mortgage as set forth in HUD Handbook 4000.4.

      96.   Absent the applicable certifications for an individual loan as

described in the above paragraphs, the Direct Endorsement Lender cannot

endorse that loan for FHA insurance.

      97.   Each of the foregoing certifications is material to HUD's payment of




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 any claim submitted under the Direct Endorsement Lender Program. HUD
                                                                      does

 not review FHA loans for approval prior to the loan being endorsed for
                                                                              insurance

 or to paying claims in the event of a default; instead, it relies on its lenders
                                                                                  to

 comply with HUD requirements and to ensure that every loan is in fact eligible
                                                                                    for

 FHA insurance. The certifications are required for each lender to enter
                                                                         and remain

 in the program. The certifications are critical to HUD's ability to ensure
                                                                              that only

 qualified and eligible loans are endorsed for HUD insurance. The certifications
                                                                                   are

 essential for a claim on a loan to be submitted for FHA insurance. And
                                                                        the

certifications are needed to protect HUD and the FHA insurance fund from undue

risk and loss.

Defaulted Loans Result in Losses to HUD

       98.   Once a loan is endorsed by HUD or the Direct Endorsement Lender,

it is insured by FHA on the basis that that the Direct Endorsement
                                                                   Lender has

followed the HUD requirements and has submitted accurate certifications
                                                                              and that

the loan is eligible for FHA insurance. Without those requirements being
                                                                         met, the

lender could not endorse the loan for FHA insurance. It is only because a
                                                                          lender

endorses a loan for FHA insurance that the holder of the mortgage is able to submit

a claim to HUD for any losses.

      99.    If the borrower defaults, the holder of the mortgage can submit a




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claim to HUD for arty loss from the default. The holder submits a claim for

insurance by using HUD's electronic claim system. The claim must include certain

information. Each loan that is endorsed for FHA insurance has a unique FHA case

number, and the claim must include the FHA case number. If a valid FHA case

number is not submitted with the claim, an insurance payment will not be

processed on that claim. The claim also must include the identification number of

the mortgagee inputting the claim, which must be either the holder of record or

the servicer of record of the mortgage.

      100. FHA pays these insurance claims in two parts. First, the mortgage

holder makes an initial claim for the unpaid principal on the loan, plus interest.

Second, if applicable, the mortgage holder later makes a final claim for expenses

and allowances (e.g., foreclosure costs), plus interest. HUD Handbook 4330.4,

REV-I, ch. 2-4.

      101. These claims are submitted to HUD electronically, and HUD's

electronic system processes them automatically. The system ensures that the FHA

insurance is active with respect to the FHA case number provided and that there

are no other impediments (such as a no-pay flag or indemnification agreement) to

paying the claim. After processing, the claim is approved for payment, and a

disbursement request is sent to the United States Treasury to issue the funds via



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wire transfer to the holder of the mortgage note.

Direct Endorsement Lenders Owe Duties to HUD By Virtue of Their Authority to
Endorse Loans for FHA Insurance and Their Responsibility to Ensure Accuracy

      102. HUD grants Direct Endorsement Lenders responsibility for

determining which loans qualify for FHA insurance. In granting this control and

responsibility to the Direct Endorsement Lenders, HUD must rely on and place

trust and confidence in the lenders' knowledge, good faith, integrity, and candor.

HUD therefore enters into a fiduciary relationship with the Direct Endorsement

Lenders.

      103. As a result of this fiduciary relationship, the Direct Endorsement

Lenders owe HUD a duty to act with good faith, candor, honesty, integrity,

fairness, and fidelity in their dealings with HUD. These duties require, among

other things, that the lenders exercise integrity, prudence, candor, and due

diligence on behalf of HUD when endorsing loans for FHA insurance, reviewing

the loans for quality control purposes, reporting defective loans, and submitting

claims.

      104. To become and remain a HUD-approved Direct Endorsement Lender,

and to receive payment on claims for defaulted FHA-insured loans that it held,

FGMC was required to annually certify its compliance with HUD's requirements.




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      105. Upon information and belief, one of FGMC's officers or executives

certified annually .to HUD in sum or substance that:

             I know or am in the position to know, whether the operations
             of the above named mortgagee conform to HUD-FHA
             regulations, handbooks, and policies. I certify that to the best
             of my knowledge, the above named mortgagee conforms to all
             HUD-FHA regulations necessary to maintain its HUD-FHA
             approval, and that the above-named mortgagee is fully
             responsible for all actions of its employees including those of
             its HUD-FHA approved branch offices.

      106. The foregoing certifications were knowingly false because, as

discussed below, FGMC knew, deliberately ignored, or recklessly disregarded that

it originated and underwrote loans that were not in compliance with HUD

requirements.

 FGMC'S SCHEME TO DEFRAUD HUD THROUGH DELIBERATELY AND
           RECKLESSLY APPROVING INELIGIBLE FHA LOANS

      107. During the relevant time period, FGMC underwrote loans it knew did

not comply with FHA loan requirements and knowingly and falsely certified to

HUD that it (1) used due diligence in underwriting the loans; or (2) that the data

it used to approve the loans for FHA insurance had integrity and that the loans

were eligible for FHA mortgage insurance.

      108. In order to approve ineligible loans, FGMC commonly utilized

several tactics to approve ineligible loans.    As examples, FGMC instructed




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employees to "fix" loans by intentionally miscalculating or misrepresenting

borrowers' income or debt obligations; manipulating the AUS/TOTAL system to

predetermine the financial data points necessary to get an "Accept/Approve"

rating; and hiding adverse documentation.

      109. As described below, FGMC knew, deliberately ignored, and

recklessly disregarded the fact that many of its loans did not comply with FHA's

underwriting requirements, and thus were not eligible for FHA mortgage

insurance.

      110. Furthermore, FGMC established certain underwriting processes that

it knew, deliberately ignored, or recklessly disregarded would result in FGMC

endorsing materially defective loans for FHA mortgage insurance.

FGMC's Pressure on Underwriters to Approve Ineligible Loans

      111. As part of its scheme to approve as many FHA loans as possible,

FGMC established a culture that valued getting a loan approved and endorsed for

FHA insurance over compliance with FHA's rules.

     112. FGMC's goal was to approve the vast majority of loans that it was

presented, even if those loans did not meet HUD's requirements to qualify for FHA

insurance.

     113. To do so, FGMC created a management exception process that



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allowed its underwriting staff to request management approval for an exception

to underwriting requirements that could not be met. As part of this process, FGMC

routinely granted management exceptions to allow violations of FHA

underwriting requirements. FGMC certified that each loan complied with FHA

requirements, even when FGMC knew these loans did not.

      114.   Where underwriters raised issues or concerns with managers, the

managers directed underwriters to overlook or ignore the HUD guidelines and

rules, thus effectively training the underwriting staff to overlook or ignore the

HUD guidelines and rules.

      115.   FGMC's senior management was aware of the management exception

process, and was often involved in the decision of whether to grant an exception

requested by an underwriter.

      116.   FGMC's formalized acceptance and approval of management

exceptions, and the concurrent pressure by management on underwriters to

approve loans, caused underwriters to view FHA's rules and requirements as mere

suggestions that could be disregarded in order to close a loan and led underwriters

to grant additional exceptions that were not formally tracked and did not receive

management approval.

      117.   While FGMC normally wanted underwriters and processors to make




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notes on its internal computer system as to the conditions they approved, FGMC

specifically told staff not to record information in the computer system that

referenced FGMC's desire to not comply with the FHA guidelines. In other words,

FGMC only wanted employees to make notes on the computer system when it

would make FGMC look like it was following the guidelines.

      118. FGMC required underwriters and processors to meet certain

production goals. Underwriters who did not keep up with FGMC's quotas were

criticized and had their job status put into jeopardy.

      119. Under this system, FGMC's underwriters were expressly encouraged

to push through as many loans as possible, with little regard for FHA requirements

in order to keep their jobs. Thus, FGMC created a culture where loan quantity was

valued over the quality of the loans.

FGMC Manipulated the AUSITOTAL System to Predetermine Values That It
Knew Would Generate "Accept/Approve" Ratings

      120. As part of its scheme to approve every FHA loan that it was

presented, FGMC instructed employees to systemically manipulate the data that

was entered into FGMC's AUS/ TOTAL system to determine variables that would

lead to an "Accept/Approve" rating from TOTAL.

     121. As discussed above, loans that receive an "Accept/Approve" rating




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in the AUS/ TOTAL system are subject to significantly less documentation

requirements and scrutiny than loans that receive a "Refer" rating and must be

manually underwritten.

      122. In order to avoid additional documentation and loan scrutiny that

"Refer" ratings require, FGMC schemed to defraud HUD by predetermining data

variables that would result in an "Accept/Approve" rating.

      123. When an FGMC employee initially ran a loan through FGMC's

AUS/ TOTAL, he or she would enter variable amounts consistent with the

borrower's representations and/or the documents in the loan file. However, if a

loan received a "Refer" rating, FGMC's employees would isolate one or more

variables, including most commonly the borrower's income or monthly debt

obligations.

      124. FGMC employees would then systematically increase or decrease the

variable(s) during successive AUS/TOTAL runs over a short period of time to

identify the variable amount(s) that would result in an "Accept/Approve" rating.

      125. After identifying the qualifying variable amount(s), FGMC's

employees would then use the lowest qualifying amount that they found

generated an "Accept/Approve' rating to determine how to underwrite the file.

     126. Relator is aware that FGMC would manipulate the AUS/TOTAL



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system several times before determining financial variables that could be used to

qualify a borrower for a loan on an "Accept/Approve" basis.

      127. Relator is aware that FGMC would frequently run loans multiple

times using these tactics.

Examples of FGMC's Impermissible and Fraudulent Certification of Non-
Compliant FHA Loans

      128. FGMC's false certifications, as well as its reckless, negligent, and

grossly negligent conduct in violation of the FHA standards and requirements,

violated FGMC's fiduciary obligations and duty of care to HUD.

      129. As set forth above, the FHA program requires a lender to represent

that the underwriting conditions are met for all loans processed through the

lender's system.

      130. As part of both the annual certifications and individual loan

certifications, FGMC certified that they complied with the required level of quality

control and duty of care. For example, FGMC underwrote mortgages using the

AUS system, and verified that all of the AUS conditions were satisfied, the loans

complied with all HUD requirements, and the loans were eligible for FHA

insurance.

      131. Contrary to these certifications, FGMC did not comply with the HUD




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requirements for approval of the loan. FGMC ignored obvious red flags and signs

of fraud in reviewing documentation and did not use its required due diligence in

underwriting FHA loans.

      132. The following are just some examples of the ways in which FGMC

failed to adhere to the FHA guidelines, rules, and regulations resulting in the

approval of loans that should not have qualified for FHA insurance.

      133. FGMC's underwriting staff was repeatedly told by management to

"make the files work" and to "fix" any variables that would prevent a loan from

being approved by the AUS system.

      134. Relator was told by FGMC's management that documents should not

be an obstacle to getting loans approved. For instance, Relator Crutcher was

instructed that when the tax returns provided by borrowers did not match the tax

transcripts that came directly from the IRS, that she should not worry about it and

instead just use whatever income source was higher.

      135. Relator was also frequently told by FGMC's management that she

should "trash" the documents that raised concerns regarding fraud or improper

underwriting practices.

      136. For instance, when Relator Crutcher mentioned that there were

differences in the tax return documents, FGMC's management, including



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underwriting manager Terri Trzybinski instructed underwriters to "trash" the

transcripts indicating a lower income to make sure that such adverse documents

didn't not appear in the loan file.

      137.   Relator Crutcher also observed that many of the W-2's submitted by

borrowers had social security numbers that were different than the borrower's.

Such a discrepancy is an obvious warning sign of fraud as a W-2 may be forged or

may be for someone other than the borrower.

      138.   Due to the likelihood of fraud in these circumstances, Relator

Crutcher contacted her underwriting manager Terri Trzybinski on several

occasions in approximately October and November 2014 to indicate that the loans

could not be approved for FHA insurance due to the fact that there were strong

indications of fraud. Relator Crutcher also told FGMC that when she had worked

for other banks such as Citigroup and Wells Fargo, issues related to conflicting

income documents and social security numbers would automatically be flagged

for follow up by the fraud departments of those lenders.

      139.   In contrast, FGMC repeatedly instructed its underwriters to ignore

these clear indications of fraud and appeared to pride itself on using fraudulent

documents to approve loans. Whenever Relator Crutcher identified issues of

fraud, she was told to look the other way and "trash" the adverse documentation




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because "that's the FGMC way."             Additionally, one of Relator Crutcher's

supervisors, Jim, mentioned that FGMC stood for "Finally Got my Mortgage

Closed" as a play on FGMC's initials and the way that FGMC would approve

ineligible loans in ways that other lenders would not due to the FHA rules and

regulations.

      140. FG.MC's management, including Tern Trzybinsld, also instructed

underwriting staff to miscalculate income using impermissible calculations related

to bonuses and overtime.

      141. Under HUD Handbook 4155.1 4.D.2.b, overtime and bonuses can be

used in calculating an individual's annual income if a borrower has received that

income for the past two years and it is likely to continue. Additionally, the lender

must establish that the overtime and bonus income are likely to continue. If either

type of income shows a continual decline, lenders are required to document in

writing the reasons for such a decline.

      142. Despite these requirements, FGMC routinely used impermissible

income calculations related to bonuses and overtime. For example, Relator recalls

that Terri Trzybinski stated that underwriters should use bonuses and overtime as

a way to "make it work" and reach certain income requirements that FGMC had

found the TOTAL system would rate as "Accept/Approve."



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      143. However, the bonus and overtime of these borrowers would often be

for less than a two-year period or would wildly fluctuate between years. Despite

this red flag, FGMC would exclude the income of the lower year and instead use

two years of the higher income to make its calculation.

      144. In these instances, FGMC also failed to justify the reasons for using

the income that it did, and management would instruct underwriters to perform

the calculation incorrectly.

      145. The FHA guidelines also require that all sources of borrower income

be documented per HUD requirements. Additionally, the FHA guidelines require

Direct Endorsement lenders to ensure verification forms and documents not pass

through the hands of third parties. Contrary to these guidelines, FGMC routinely

approved loans for which the income that was not properly verified (or not

verified at all) and using documents that appeared to pass through the hands of a

third party.

      146. FGMC's entry of a monthly debt obligations variable that lacked

integrity into its AUS/ TOTAL is another example of the multiple rules that FGMC

violated in approving loans for FHA insurance.

      147. Under the applicable HUD rules, HUD Handbook 4155.1 4.C.3.c, the

total debt-to-income ratio may not exceed 43% and the payment-to-income ratio



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may not exceed 31%.

      148.   By lowering the monthly debt obligations to less than they actually

were, FGMC approved loans where the debt-to-income ratios exceeded 43% and

payment-to-income ratios exceeded 31%.

      149.   Contrary to this clear requirement, FGMC failed to document

adequate compensating factors even though borrowers' ratios exceeded the 31%

and 41% limits.

      150.   Additionally, under the FHA's program, borrowers are typically

required to make a minimum down payment of 3.5% of the purchase price.

However, borrowers with low credit scores may be required to make a down

payment in excess of 3.5%.

      151.   With respect to down payments, FGMC instructed its underwriting

staff to ignore warning signs that a borrower's assets included funds that were not

the borrower's.

      152.   For example, borrowers would frequently claim that they had the

required down payment funds in a checking or savings account. However, when

FGMC's underwriters reviewed bank deposit information, it often revealed that

the requisite funds had recently been provided by a person other than the

borrower (such as a family member). These are commonly referred to as "gift




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funds."

       153. Specifically HUD Handbook 4155.1 5.B.5 requires that, in order to

ensure that gift funds are not provided by a party to the sales transaction, FHA

lenders must document gift funds with a gift letter, signed by the borrower, that

specifies the amount of the gift, specifies that the funds are a gift requiring no

repayment, and there must be documentation of the transfer of the funds from the

donor to the borrower.

      154.   Additionally, HUT) Handbook 4155.1 5.B.2.b requires that a

verification of deposit, along with a recent bank statement be used to verify

savings and checking accounts. If there is a large increase in the account, lenders

are also required to obtain a credible explanation from the borrowers as to the

source of the funds.

      155.    Despite these requirements, FGMC encouraged its underwriters to

ignore instances in which borrowers had recent and significant deposits into their

checking and savings accounts, and to instead treat the funds as if they had long

existed in the borrowers' accounts. This is extremely problematic because if such

funds were from an improper source (such as the seller) or if the funds were not

in fact a gift, this would substantially increase the likelihood that the buyer could

not meet the loan's monthly mortgage payments and the loan would be declined.




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       156.   HUD Handbook 4155.1 also requires that lenders such as FGMC

verify and analyze a borrower's payment history of housing obligations and to

obtain written explanations as to past derogatory credit.       Despite this clear

requirement, FGMC would instruct its underwriters and processors to ignore

those requirements which could lead to loans being referred or declined.

      157.    Similarly, FGMC also failed to properly develop credit histories for

borrowers. Under the relevant HUD rules, if a borrower does not have a credit

score, HUD requires that the lender develop a credit history from alternative

sources such as utility payment records, automobile insurance payments, or rental

payment.

      158.    Despite this requirement, underwriting manager Terri Trzybinski

told Relator Crutcher and other underwriters that they could waive the

requirements related to credit histories.

      159.    FGMC also accepted information that was not permissible in

reviewing a borrower's credit scores. For example, FGMC frequently took credit

references from unqualified credit entities such as rental companies that did not

have actual credit scores.    FGMC frequently used similar credit sources to

determine a borrower's credit, despite the fact that such sources could not be used

under the required due diligence standards.




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      160.   In the instances where FGMC did obtain additional documents, such

as additional tax returns, FGMC intentionally did not review and scrutinize

additional issues that those documents would raise, such as alimony or child

support obligations that the borrower had failed to disclose.

      161.   FGMC also encouraged underwriting staff to ignore or destroy

adverse documentation that would cause a loan to be referred or declined.

Example with names?

      162.   FGMC's management failed to take effective action to address

deficiencies in its loan origination and underwriting practices. Instead, FGMC

reaped profits by certifying that the loans met FHA's standards and requirements

and were therefore eligible for insurance.

FGMC Failed to Maintain Quality Control Procedures as Required by HUD's
Direct Endorsement Lender Program

      163.   Upon information and belief, FGMC further did not have a quality

control department and did not review and audit loans as required by the FHA

program. As a result, many of FGMC's underwriting staff did not realize that

there were serious deficiencies in the FHA loans because they did not know the

FHA requirements and never received any feedback on the loans they processed.

      164.   As a result of these deficiencies, FGMC's false certifications that loans




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complied with the FHA program's rules were material and bore upon the loan's

eligibility for FHA insurance and the likelihood that the borrower would make

mortgage payments.

      165.    FGMC also failed to comply with HUD's rules and regulations

regarding required quality control procedures, even though those procedures

were mandatory for FGMC's maintenance of its Direct Endorsement Lender

status.     Instead, FGMC made false representations to HUD about FGMC's

purported compliance with HUD's rules pertaining to quality control procedures.

      166.    At all relevant times, FGMC was required to file annual certifications

with HUD to maintain its Direct Endorsement Lender status.

      167.    As part of those annual certifications, FGMC falsely certified that it

had quality control procedures.

      168.    In order to obtain and maintain Direct Endorsement Lender status, a

lender is required to continuously implement a quality control program that is

independent of its business operations. Independence ensures that the quality

control department brings its own judgment to bear in assessing the validity of

loans previously made, without concern for meeting a targeted volume of

business.

      169.    Upon information and belief, no FGMC employees were exclusively




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assigned to quality control. Even in the irtstanes where FGMC may have had

some loans reviewed or audited, FGMC did not consistently review loans nor did

FGMC report to HUD findings of fraud and other serious violations, despite a

HUD requirement that all such findings be reported within 60 days.

       170. FGMC deliberately avoided its quality control requirements because

it viewed quality control as a detriment to loan production.             Instead of

implementing quality control procedures, FGMC emphasized speed and volume

and an overall focus on getting as many loans approved as possible. FGMC sought

to have virtually all employees perform underwriting and origination duties,

while few, if any, employees were tasked with quality control. This in turn

resulted in loans that were likely to have significant errors.

      171. As part of its failure to maintain a proper quality control system,

FGMC also ignored its obligation to provide underwriting staff with training and

feedback on underwriting errors.

      172. In light of FGMC's serious and material defects in its quality control

program, it would have been impossible for FGMC to truthfully complete the

annual certification stating that it maintained a sufficient quality control program

and thus falsely certified to HUD that it was able to participate in the Direct

Endorsement Lender program.



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FGMC's Improper Underwriting Practices Result in False Certifications and False
Claims

      173. The examples discussed in this. Complaint are representative

examples of the systemic practices and procedures followed by FGMC that led to

the submission of false statements and claims.

      174. As a result of these systemic practices and procedures, FGMC made

false certifications to HUD on individual loan-level, initial, and annual

certifications to HUD.

      175. Pursuant to the policies and practices described above, FGMC

submitted the following loans to HUD that resulted in claims paid by HUD to

FGMC.

      a.FHA Case Number 045-7004717 for a claim submitted on approximately

      January 1, 2017 that was for a property located in Parlier, California that

      resulted in a claim to HUD in the amount of at least $131,775.52.

      b.FHA Case Number 043-8253539 for a claim submitted on approximately

     February 29,2016 that was for a property located in Los Molinos, California

     that resulted in a claim to HUD in the amount of at least $179,232.54.

     c.FHA Case Number 197-3868121 for a claim submitted on approximately

     October 21, 2013 that was for a property located in Monrovia, California that




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       resulted in a claim to HUD in the amount of at least S378,571.22.

       d.FHA Case Number 197-3859579 was a claim submitted on approximately.

      September 11, 2013 for a property located in Palmdale, California that

      resulted in a claim to HUD in the amount of at least $280,127.42.

      e.FHA Case Number 044-4339807 was a claim submitted on approximately

      November 12, 2010 for a property located in Fallbrook, California that

      resulted in a claim to HUD in the amount of at least $330,800.88.

      f.FHA Case Number 045-8449590 was a claim submitted on approximately

      April 15,2018 for a property located in Delano, California that resulted in a

      claim to HUD in the amount of at least $56,007.79.

      176. HUD paid all of the claims for loans that were falsely certified as

eligible for FHA insurance.

      177. These claims were false because the loans were not eligible for FHA

insurance because FGMC falsely certified that the loan was underwritten in

accordance with HUD guidelines and/or FGMC falsely certified that it was in

compliance with HUD's requirements when FGMC made its initial or annual

certifications to HUD.

      178. The mortgages did not qualify for FHA insurance because they were

not underwritten in accordance with HUD guidelines, FGMC had not used due



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diligence in underwriting them, FGMC entered data into the AUS that lacked

integrity, and FGMC failed to maintain a proper quality control program as

required by HUD and FHA.

      179. FGMC violated HUD requirements and falsely certified to

compliance with those requirements. FGMC was therefore not authorized to

endorse these mortgage loans for FHA insurance. FGMC's false certifications and

violations of HUD requirements bore upon the likelihood of whether the borrower

would make mortgage payments.

      180. Upon information and belief, as a result of this conduct, FGMC

submitted or caused the submission of hundreds of false claims.

   FGMC IMPROPERLY RETALIATES AGAINST RELATOR CRUTCHER

      181. As discussed further herein, during her employment with FGMC,

Relator Crutcher discovered multiple instances of mortgage fraud that led her to

believe that FGMC was falsely certifying loans for FHA insurance that did not

meet the HUD and FHA requirements for mortgage insurance.

     182. Relator Crutcher attempted to raise her concerns internally with

FGMC, but her complaints were repeatedly ignored by FGMC's management.

     183. For example, in approximately October 2014, Relator Crutcher sent

her underwriting manager, Tern Trzybinski several emails indicating that fraud




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was being con-unitted due to the fact that FGMC was waiving conditions that were

required for FHA insurance. Relator Crutcher also indicated that since many of

the W-2s that FGMC used to approve loans had mismatching Social Security

Numbers, FGMC had not performed the required due diligence to identify clear

instances of fraud.

      184.   Relator Crutcher also indicated both in these emails and verbally that

she would not approve these loans due to the fact that they did not meet the FHA

guidelines and that FGMC was using improper documents and calculations in

order to get the loans approved.

      185.   In her emails, Relator Crutcher also asked Ms. Trzybinski whether

FGMC had a fraud department that could review the loans that were being

approved by FGMC's process of waiving conditions.

     186.    Despite Relator Crutcher's complaints that FGMC was engaged in

FHA mortgage fraud, FGMC brushed off Relator Crutcher's complaints. Ms.

Trzybinski merely responded that FGMC did not have a fraud department, and

responded that Relator Crutcher should only worry about approving loans and

not about compliance.

     187.    Shortly after making these internal complaints to Ms. Trzybinski,

Relator Crutcher was terminated by FGMC on or about November 10, 2014.




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       188. Relator Crutcher's termination was in retaliation for her protected

complaints about FGMC's fraud against the government and for her refusal to

engage in further fraud against the government.

       189. FGMC unlawfully discharged and discriminated against Relator

C_.rutcher because of the lawful acts she had undertaken in further of the False

Claims Act.

                           FIRST CAUSE OF ACTION
              For Damages and Penalties Under the False Claims Act
                           31 U.S.C. § 3729(a)(1)(A)

      190. The United States repeats and realleges the allegations above as if

fully set forth herein.

      191. FGMC violated the provisions of the False Claims Act, 31 U.S.C. §

3729(a)(1)(A) by: (i) knowingly presenting or causing to be presented claims for

payment or approval; (ii) in order to get false or fraudulent claims paid; and (iii)

which claims the United States did pay.

      192. The United States paid the false or fraudulent claims because of

FGMC's acts and incurred damages as a result.

                          SECOND CAUSE OF ACTION
              For Damages and Penalties Under the False Claims Act
                            31 U.S.C. § 3729(a)(1)(B)

      193. The United States repeats and realleges the allegations above as if



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fully set forth herein.

      194. FGMC violated the provisions of the False Claims Act, 31 U.S.C. §

3729(a)(1)(3) by knowingly making, using, or causing to be made or used, false

records, or statements: (i) material to false or fraudulent claims for payment to

HUD; and/or (ii) in order to get false or fraudulent claims paid; and (iii) which

claims the United States did pay.

      195. The United States paid the false or fraudulent claims because of

FGMC's acts and incurred damages as a result.

                             THIRD CAUSE OF ACTION
                   Unlawful Retaliation Under the False Claims Act
                                   31 U.S.C. § 3730(h)

      196.         Relator realleges the above paragraphs as if fully restated herein.

      197.         This is a claim for back pay, interest on the back pay, front pay,

compensation for special damages, and such other and further relief as the Court

may deem proper for injuries Relator sustained as a result of retaliatory actions

taken against Relator by Defendant, including litigation costs and reasonable

attorneys' fees.

      198.         31 U.S.C. § 3730(h) provides, in relevant part:

      (h) Relief From Retaliatory Actions.

      (1) . . . Any employee, contractor, or agent shall be entitled to all
      relief necessary to make that employee, contractor, or agent whole, if


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      that employee, contractor, or agent is discharged, demoted,
      suspended, threatened, harassed, or in any other manner
      discriminated against in the terms and conditions of employment
      because of lawful acts done by the employee, contractor, or agent on
      behalf of the employee, contractor, or agent or associated others in
      furtherance of other efforts to stop 1 or more violations of this
      subchapter.

      (2) . . . Relief under paragraph (1) shall include reinstatement with
      the same seniority status that employee, contractor, or agent would
      have had but for the discrimination, 2 times the amount of back pay,
      interest on the back pay, and compensation for any special damages
      sustained as a result of the discrimination, including litigation costs
      and reasonable attorneys' fees. . . .

      199.      Through the acts described above, Relator repeatedly attempted to

stop Defendant from committing violations of 31 U.S.C. § 3729.

      200.      Relator's acts described above, undertaken to stop Defendants

from committing countless violations of 31 U.S.C. § 3729(a), consisted of protected

conduct under 31 U.S.C. § 3729 et seq. Relator repeatedly raised concerns with

Defendant's management that Defendant was engaging in fraud and submitting

false claims to the Government. Defendant was aware of Relator's protected

conduct and acted in retaliation as a result of Relator's protected conduct under

the False Claims Act.

      201.     Through the acts described above, Defendant repeatedly ignored

and/or refused to provide any meaningful response to Relator's lawful inquiries




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and efforts to redress Defendant's intentional and knowing violations of HUD and

the FHA's underwriting requirements and the submission of false claims for

mortgage insurance by HUD.

      202.        As a direct result of Relator's lawful inquiries and efforts to stop

intentional and knowing violations of HUD and the FHA's rules and regulations,

Defendant unlawfully terminated Relator because of lawful acts done by Relator

in furtherance of her efforts to stop Defendant from submitting false claims.

      203. Defendant is liable under 31 U.S.C. § 3730(h) for (i) an award of

double back pay; (ii) interest on back pay; (iii) an award of front pay; (iv) special

damages; (v) litigation costs; (vi) attorneys' fees; and (vii) such other and further

relief as the Court may deem proper.

      WHEREFORE, Relator, on behalf of herself and the United States

Government, requests the following relief:

             a.     A judgment against Defendant in an amount equal to three
                    times the amount of damages the United States has sustained
                    as a result of Defendant's violations of the False Claims Act;

             b.     A judgment against Defendant for civil penalties as described
                    (and adjusted for inflation) under 31 U.S.C. § 3729(a) (1)(G) for
                    each of Defendant's violations of the False Claims Act;

             c.     That Relator recover all costs of this action, with interest,
                    including the cost to the United States Government for its
                    expenses related to this action;



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             d.    That Relator be awarded all reasonable attorneys' fees in
                   bringing this action;

             e.    That in the event the United States Government proceeds with
                   this action, Relator be awarded an amount for bringing this
                   action of at least 15% but not more than 25% of the proceeds of
                   the action;

            f.    That in the event the United States Government does not
                  proceed with this action, Relator be awarded an amount for
                  bringing this action of at least 25% but not more than 30% of
                  the proceeds of the action;

            g.    An award to Relator on her retaliation claims including double
                  back pay; interest on back pay; an award of front pay; litigation
                  costs; attorneys' fees; special damages; an injunction
                  restraining further retaliation; reinstatement of Relator's
                  position; reinstate of full fringe benefits and seniority rights;
                  compensation for lost wages, benefits, and seniority rights; and
                  other remuneration.

            h.    That a trial by jury be held on all issues so triable;

            I.    An award of pre-judgment interest; and

            j.    Such other relief to Relator and/or the United States of America
                  as this Court may deem just and proper.

PLAINTIFF DEMANDS A JURY TRIAL.

Dated: June 29, 2022




                               By:
                                     - N       on Thomas, E q. (admitted pro hac
                                     vice)




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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
 UNITED STATES OF AMERICA ex rel.                   FILED UNDER SEAL
 KARI CRUTCHER,
                                                      Civil Action No.
                                 Plaintiff,           16-CV-03812-SCJ

 V.

FIRST GUARANTY MORTGAGE
CORPORATION, PACIFIC
INVESTMENT MANAGEMENT
COMPANY, LLC, PIMCO
INVESTMENTS, LLC, AARON
SAMPLES, ANDREW PETERS, JILL
WINTERS and SUZY LINDBLOM,



                               Defendants.

                          CERTIFICATE OF SERVICE

       I hereby certify that Relator's Amended Complaint that was filed under seal

was served by delivering a copy to:

                                   Paris Wynn
                        Assistant United States Attorney
                       Richard B. Russell Federal Building
                        75 Ted Turner Dr. SW, Suite 600
                            Atlanta, GA 30303-3309


This 29th Day of June, 2022.
